Case 2:24-cv-08280-MWC-E    Document 222-2      Filed 06/11/25   Page 1 of 5 Page ID
                                   #:9357


  1    RYAN S. LANDES (State Bar No. 252642)
       ryanlandes@quinnemanuel.com
  2     Quinn Emanuel Urquhart & Sullivan, LLP
       865 S Figueroa Street, Floor 10
  3    Los Angeles, CA 90017-5003
       Telephone: (213) 443-3145
  4    Facsimile: (213) 443-3100
  5    STACYLYN M. DOORE (admitted pro hac vice)
       stacylyndoore@quinnemanuel.com
  6     Quinn Emanuel Urquhart & Sullivan, LLP
       111 Huntington Avenue, Suite 520
  7    Boston, MA 02199
       Telephone: (617) 712-7100
  8    Facsimile: (617) 712-7200
  9    RACHEL E. EPSTEIN (admitted pro hac vice)
       rachelepstein@quinnemanuel.com
 10     Quinn Emanuel Urquhart & Sullivan, LLP
       295 Fifth Avenue
 11    New York, NY 10016
       Telephone: (212) 849-7000
 12    Facsimile: (212) 849-7100
 13 Attorneys for Plaintiff
    ELECTRIC SOLIDUS, INC. d/b/a SWAN BITCOIN
 14
                   IN THE UNITED STATES DISTRICT COURT
 15
                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 16
                             WESTERN DIVISION
 17
 18    ELECTRIC SOLIDUS, INC.                    Case No. 2:24-cv-8280-MWC-E
       d/b/a SWAN BITCOIN,
 19    a Delaware corporation,                   DECLARATION OF STACYLYN
                   Plaintiff,                    M. DOORE IN SUPPORT OF
 20                                              SWAN’S EX PARTE
              v.                                 APPLICATION FOR A
 21                                              TEMPORARY RESTRAINING
       PROTON MANAGEMENT LTD.,                   ORDER
 22    a British Virgin Islands corporation;
       THOMAS PATRICK FURLONG;
 23    ILIOS CORP., a California corporation;    Judge: Hon. Michelle Williams Court
       MICHAEL ALEXANDER HOLMES;
 24    RAFAEL DIAS MONTELEONE;
       SANTHIRAN NAIDOO;                         Complaint Filed:        Sept. 25, 2024
 25    ENRIQUE ROMUALDEZ; and                    Am. Compl. Filed:        Jan. 27, 2025
       LUCAS VASCONCELOS,
 26                                              Trial Date:               May 4, 2026
                   Defendants.
 27
 28

       DOORE DECLARATION IN SUPPORT OF SWAN’S EX PARTE APPLICATION FOR A TEMPORARY
                                   RESTRAINING ORDER
Case 2:24-cv-08280-MWC-E     Document 222-2       Filed 06/11/25   Page 2 of 5 Page ID
                                    #:9358


  1                  DECLARATION OF STACYLYN M. DOORE
  2         I, Stacylyn M. Doore, declare as follows:
  3         1.    I am a partner with the law firm Quinn Emanuel Urquhart & Sullivan,
  4 LLP (“Quinn Emanuel”) and am admitted pro hac vice to this court. I represent
  5 Plaintiff Electric Solidus, Inc. d/b/a Swan Bitcoin (“Swan”) in the above-captioned
  6 matter. I submit this Declaration in connection with Swan’s Ex Parte Application
  7 for a Temporary Restraining Order. Unless stated otherwise, this Declaration is
  8 based on my personal knowledge; if called as a witness I could and would testify as
  9 follows.
 10         2.    On June 11, 2025, I telephoned then emailed counsel for Defendants
 11 to notify them that Swan would be filing this ex parte application on June 11, 2025.
 12 Specifically, I spoke with Messrs. Matthew Kanny, Grant Fondo, Jaideep
 13 Venkatesan, and Adam Trigg by telephone on the morning of June 11, 2025 to
 14 provide further notice of Swan’s ex parte application including the substance and
 15 date of filing of the application. I further notified counsel for Defendants by
 16 subsequent email on June 11, 2025 that any opposition must be filed no later than
 17 24 hours after service of these papers, pursuant to the Court’s standing order
 18 regarding ex parte applications.
 19         3.    Attached hereto as Exhibit A is a true and correct copy of a screenshot
 20 of Signal Chat messages between Defendant Michael “Alex” Holmes and Myles
 21 Watson, Chief Operating Officer at Aspen Creek Digital Corporation (“ACDC”),
 22 dated December 10, 2024. Copies of these Signal Chat messages were produced to
 23 Swan by ACDC in response to a subpoena in this action.
 24         4.    Attached hereto as Exhibit B is a true and correct copy of an email that
 25 Defendant Holmes sent on August 8, 2024, to the recipients identified on the face
 26 of that email.
 27         5.    Attached hereto as Exhibit C is a true and correct copy of the
 28 Certification of Formation of Limited Liability Company for Strange-Quark
                                              1
        DOORE DECLARATION IN SUPPORT OF SWAN’S EX PARTE APPLICATION FOR A TEMPORARY
                                    RESTRAINING ORDER
Case 2:24-cv-08280-MWC-E    Document 222-2        Filed 06/11/25   Page 3 of 5 Page ID
                                   #:9359


  1 Systems LLC, dated October 25, 2024 and filed with the State of Delaware’s
  2 Secretary of State, Division of Corporations.
  3         6.    Attached hereto as Exhibit D is a true and correct copy of email
  4 correspondence from Max Berg, dated November 6, 2024, to the recipients
  5 identified on the face of that email, with accompanying attachments. Copies of this
  6 email and attachments were produced to Swan by ACDC in response to a subpoena
  7 in this action.
  8         7.    Attached hereto as Exhibit E is a true and correct copy of Defendant
  9 Proton Management Ltd.’s Supplemental Responses and Objections to Plaintiff’s
 10 First Targeted Interrogatories, dated April 18, 2025.
 11         8.    Attached hereto as Exhibit F is a true and correct copy of a screenshot
 12 of messages exchanged between Defendant Enrique Romualdez and Myles Watson,
 13 Chief Operating Officer at ACDC, dated August 14-17, 2024. Copies of these
 14 messages were produced to Swan by ACDC in response to a subpoena in this action.
 15         9.    Attached hereto as Exhibit G is a true and correct copy of the
 16 Individual Defendants’ Amended Objections and Responses to Plaintiff’s First
 17 Interrogatories to Defendants, dated April 18, 2025.
 18         10.   Attached hereto as Exhibit H is a true and correct copy of a complaint
 19 filed in the matter of In re Celsius Network LLC, Case No. 22-10964 (MG), pending
 20 in the United States Bankruptcy Court for the Southern District of New York, dated
 21 August 9, 2024 (Dkt. 7594).
 22         11.   Attached hereto as Exhibit I is a true and correct copy of email
 23 correspondence from representatives of Standard Power Hosting Infra Company
 24 LLC, to former Swan employees Brett Hiley and Kartheek Sola, and Defendant
 25 Romualdez, dated May 14, 2025.
 26         12.   Attached hereto as Exhibit J is data produced by Satokie Hosting
 27 Solutions LLC to Swan in response to a subpoena in this action. The data represents
 28 the amount of Bitcoin earned by Swan and Proton’s Bitcoin mining operations at a
                                              2
        DOORE DECLARATION IN SUPPORT OF SWAN’S EX PARTE APPLICATION FOR A TEMPORARY
                                    RESTRAINING ORDER
Case 2:24-cv-08280-MWC-E      Document 222-2       Filed 06/11/25   Page 4 of 5 Page ID
                                     #:9360


  1 site hosted by Satokie Hosting Solutions LLC, on a daily basis, from May 15, 2024,
  2 through March 31, 2025. Exhibit J also includes a bar chart created by counsel
  3 depicting the data.
  4         13.   Attached hereto as Exhibit K is a true and correct copy of email
  5 correspondence from Robert Vrtis at Fusion Industries, LLC, dated March 18, 2025,
  6 to the recipients identified on the face of that email. A copy of this email was
  7 produced to Swan by Fusion Industries, LLC, in response to a subpoena in this
  8 action.
  9         14.   Attached hereto as Exhibit L is a true and correct copy of the
 10 Memorandum in Support of Plaintiff’s Motion for Preliminary Injunction filed in
 11 Stirling Mortimer Glob. Prop. Fund PCC Ltd. v. Roberts, No. 2:13-CV-00301-
 12 GMN, Dkt. 37-1 (D. Nev. March 5, 2013).
 13         15.   Attached hereto as Exhibit M is a true and correct copy of email
 14 correspondence between counsel for ACDC and counsel for Swan, dated May 1,
 15 2025, regarding ACDC’s production in response to the subpoena to ACDC served
 16 by Swan in this action.
 17         16.   Attached hereto as Exhibit N is a true and correct copy of email
 18 correspondence from Zachary Lyons to Raphael Zagury and other representatives
 19 of Swan and Tether Investments Ltd., dated December 5, 2023. Exhibit N appends
 20 to that email chain an attachment that Mr. Zagury sent on December 5, 2023, as
 21 referenced in an earlier email from Mr. Zagury in that chain.
 22         17.   Attached hereto as Exhibit O is a true and correct copy of a screenshot
 23 of Signal Chat messages between Defendant Holmes and Myles Watson, Chief
 24 Operating Officer at ACDC, dated June 17, 2024. Copies of these Signal Chat
 25 messages were produced to Swan by ACDC in response to a subpoena in this action.
 26         18.   Attached hereto as Exhibit P is a copy of Swan’s proposed targeted
 27 discovery requests to Defendant Proton Management Ltd.
 28
                                               3
        DOORE DECLARATION IN SUPPORT OF SWAN’S EX PARTE APPLICATION FOR A TEMPORARY
                                    RESTRAINING ORDER
Case 2:24-cv-08280-MWC-E   Document 222-2       Filed 06/11/25   Page 5 of 5 Page ID
                                  #:9361


  1 DATED: June 11, 2025         QUINN EMANUEL URQUHART &
                                 SULLIVAN, LLP
  2
  3                              By Stacylyn M. Doore
                                   STACYLYN M. DOORE (admitted pro hac vice)
  4                                stacylyndoore@quinnemanuel.com
  5                                111 Huntington Avenue, Suite 520
                                   Boston, MA 02199
  6                                Telephone: (617) 712-7100
                                   Facsimile: (617) 712-7200
  7
                                    Attorneys for Plaintiff
  8                                 ELECTRIC SOLIDUS, INC.
  9                                 d/b/a SWAN BITCOIN
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                            4
        DOORE DECLARATION IN SUPPORT OF SWAN’S EX PARTE APPLICATION FOR A TEMPORARY
                                    RESTRAINING ORDER
